             Case 1:24-cv-00955 Document 1 Filed 04/03/24 Page 1 of 9




                     UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA

__________________________________________
                                          )
WARREN COMMUNICATIONS NEWS, INC.          )
2115 Ward Court, Washington, DC 20037     )
                                          )
                   Plaintiff,             )                  Civil Action No:
                                          )
            vs.                           )
                                          )
                                          )                  Trial by jury is demanded
NNR GLOBAL LOGISTICS USA, INC.            )
                                          )
                   Defendant.             )
__________________________________________)


                   COMPLAINT FOR COPYRIGHT INFRINGEMENT

       Plaintiff Warren Communications News, Inc. (“Plaintiff” or “Warren”) brings this

Complaint for monetary damages and injunctive and other relief against Defendant NNR Global

Logistics USA Inc. (“Defendant” or “NNR”). Warren alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is a civil action for copyright infringement in violation of the United States

Copyright Act, 17 U.S.C. §§ 101 et seq. Defendant’s continued, systematic, unauthorized

copying of Warren’s promptly registered copyrighted works was willful and substantially

damaged Warren’s core business of publishing leading national, business-to-business newsletters

regarding the international trade, communications, and electronics industries.

       2.      By purchasing a single subscription to Warren’s daily newsletter entitled Export

Compliance Daily and making multiple unauthorized copies of each issue for use in its business,

Defendant has caused significant harm to Warren and has earned unjust profits for itself. Warren

seeks all remedies afforded by the Copyright Act, including statutory damages, or actual
              Case 1:24-cv-00955 Document 1 Filed 04/03/24 Page 2 of 9




damages and Defendant’s profits, and an award of costs including legal fees. Because

Defendant’s infringements were willful and included as many as 250 or more registered works,

and because a jury has discretion to award statutory damages of up to $150,000 for each willfully

infringed registered work, Defendant’s potential liability may approach or exceed $37,500,000.

                                 JURISDICTION AND VENUE

       3.      This is a civil action seeking monetary relief for copyright infringement under the

laws of the United States, 17 U.S.C. § 101 et seq.

       4.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331, which provides

original jurisdiction of all civil actions arising under federal law, and 28 U.S.C. § 1338(a), which

provides original jurisdiction of all civil actions arising under federal copyright law.

       5.      Defendant is subject to personal jurisdiction in this District, and venue is proper

here under 28 U.S.C. §§ 1391 and 1400(a). The claim arises from Defendant’s contacts with and

in this District, including contacts by which the infringed works were obtained, and Defendant

caused injury here where Plaintiff resides and holds the injured property.

                                              PARTIES

       6.      Plaintiff Warren is a corporation duly organized and existing under the laws of the

State of Delaware with its principal place of business in Washington, DC. Warren, a family-

owned and -operated company, was founded in 1945 in Washington, DC, where it is still

headquartered. Originally established to cover the then-emerging medium of television, Warren

today is a publisher of hard news and analysis in the fields of international trade,

communications, the Internet, and adjacent topics. Warren creates and publishes Export

Compliance Daily approximately 250 times per year. Warren has approximately 30 employees.

       7.      Defendant NNR is a business corporation organized under the laws of Illinois and

having its principal executive office in Itasca, Illinois. It is a for-profit business engaged in


                                                   2
                Case 1:24-cv-00955 Document 1 Filed 04/03/24 Page 3 of 9




supply chain management, freight forwarding, and transportation. Defendant is a member of the

Nishitetsu Group, a $4 billion global organization with over 18,000 employees.

                                       GENERAL ALLEGATIONS

        8.       Warren is, and at all relevant times has been, the exclusive owner of all copyrights

under Title 17 of the United States Code in certain original works of authorship, to wit, issues of

the Export Compliance Daily newsletter published by Warren between June 1, 2022, and June

30, 2023 (collectively, “Copyrighted Materials”).

        9.       The Copyrighted Materials have been distributed by Warren to individuals who

have entered subscription agreements or who have purchased individual issues of the newsletter.

The Warren Copyrighted Materials are covered by certificates of copyright registration issued by

the U.S. Copyright Office, identified as follows:

                                          Number
 Certificate Number   Publication Month                  Registration Effective Date   Registration Decision Date
                                          of Works
 TX 9-147-599         June 2022             26           July 8, 2022                  July 26, 2022
 TX 9-171-279         July 2022             20           August 5, 2022                September 21, 2022
 TX 9-195-129         August 2022           26           September 25, 2022            November 17, 2022
 TX 9-216-588         September 2022        29           October 14, 2022              January 26, 2023
 TX 9-207-931         October 2022          22           November 15, 2022             January 3, 2023
 TX 9-223-196         November 2022         20           December 16, 2022             February 13, 2023
 TX 9-238-597         December 2022         23           January 5, 2023               March 27, 2023
 TX 9-246-136         January 2023          21           February 22, 2023             April 13, 2023
 TX 9-253-853         February 2023         21           March 18, 2023                May 1, 2023
 TX 9-265-044         March 2023            26           May 22, 2023                  May 22, 2023
 TX 9-267-820         April 2023            22           May 16, 2023                  May 30, 2023
 TX 9-305-544         May 2023              22           June 8, 2023                  August 31, 2023
 TX 9-325-431         June 2023             22           July 26, 2023                 October 31, 2023

        10.      Among the rights granted to Warren by the Copyright Act is the exclusive right to

reproduce the Copyrighted Materials and to distribute the Copyrighted Materials to the public.

        11.      Defendant first became a subscriber to Export Compliance Daily on or about June

14, 2022. The agreement under which a corporate subscriber obtained access to Export

Compliance Daily required the subscriber to identify a single “authorized recipient” who would

be authorized to receive issues of Export Compliance Daily.


                                                     3
             Case 1:24-cv-00955 Document 1 Filed 04/03/24 Page 4 of 9




       12.     On or about June 14, 2022, Ike Miura, Export Compliance Manager of Defendant,

became the authorized recipient of Defendant’s single subscription to Export Compliance Daily.

He remained the sole authorized recipient at all times thereafter until the subscription expired on

or about June 14, 2023.

       13.     The license agreement under which Defendant received access to Export

Compliance Daily, as signed by Mr. Miura on or about June 14, 2022, and subsequently accepted

by Warren in Washington, DC, provided the following terms and conditions:

               You, as the designated individual subscriber, may view the Executive
               Summary, PDF newsletter and/or bulletins on a computer or similar
               device. You may print one paper copy for your own use. Copies created as
               part of the normal background operation of a computer system and not
               normally viewed (e.g., system back-up), are permissible. You individually
               may use your password to access and view the material on the Export
               Compliance Daily website and print or save one copy of articles or search
               results for your own use. You may not share your password and no one
               but you is authorized to use it.

               Except as provided above, no copying or distribution in any media is
               authorized. For example, no part of an Executive Summary, a PDF
               newsletter, a bulletin, or a website article may be forwarded or posted to
               facilitate viewing by others, except by prior written permission authorized
               by us. Unauthorized access, viewing, copying or distribution infringes our
               rights and may have serious consequences. A “share” function, if one is
               offered, must be used directly and does not authorize other sharing. To
               ensure electronic delivery accuracy and copyright compliance, we may
               choose to use a monitoring service. This service provides us certain
               technical and usage data from any computer that opens the Executive
               Summary or the complete newsletter. We will not share this information
               with anyone outside the company, nor will we use it for any commercial
               purpose. More information about our data collection practices is at
               https://warren-news.com/privacy.

       14.     Under Defendant’s subscription, Warren delivered Export Compliance Daily

electronically to Mr. Miura at his NNR email address. Each issue was delivered as a PDF

attachment to an email sent from Warren’s Washington, DC office.




                                                 4
             Case 1:24-cv-00955 Document 1 Filed 04/03/24 Page 5 of 9




       15.     Each delivery email providing the Personal Executive Summary of Export

Compliance Daily contained a statutory copyright notice and warned that “reproduction or

retransmission in any form of either the email or the underlying content, without written

permission, is a violation of Federal Statute (17 U.S.C. 101 et seq.).”

       16.     Each issue of Export Compliance Daily included a statutory notice of copyright and

a warning that “reproduction or retransmission in any form, without written permission, is a

violation of Federal Statute (17 USC 101 et seq.).”

       17.     Additionally, issues of Export Compliance Daily frequently included the following

boxed warning:


                                     It's Against the Law…

        … to copy, forward or disseminate this newsletter or its Executive Summary except as
 authorized by your subscription agreement. Federal copyright law (17 USC 101 et seq.)
 makes infringers liable for statutory damages awards of up to $150,000 per issue copied.

        Warren Communications News, Inc. frequently has taken action against individuals
 and firms that infringed our copyrights, and we will continue to do so. Firms should train and
 supervise their personnel to guard against illegal copying of this publication, which subsists
 primarily on subscription revenue. To monitor copyright compliance, we may choose to use a
 tracking service.


       18.     On information and belief, on or about June 21, 2022, Mr. Miura began making

and providing unauthorized copies of the Copyrighted Materials to other present and former

employees and officers of Defendant and to locations outside of Defendant’s offices. Defendant

knew of and authorized these infringing activities through its agents, including Mr. Miura;

benefitted from them; supplied the means of copying and distributing; and had the ability to

control the infringements. On information and belief, Defendant and its employees and officers

receiving unauthorized copies of the Copyrighted Materials caused unauthorized copies of those




                                                 5
             Case 1:24-cv-00955 Document 1 Filed 04/03/24 Page 6 of 9




Copyrighted Materials to be made and/or distributed. Defendant’s personnel committed all

relevant acts in the scope of their employment and for Defendant’s business.

       19.     On information and belief, 250 separate issues of the Copyrighted Materials were

copied and disseminated by Defendant, all without authority from Warren.

       20.     Warren discovered the unauthorized copying during Spring 2023 and caused its

legal counsel promptly thereafter to send Defendant’s President, Koichi Imamura, a cease-and-

desist letter on May 8, 2023. The letter offered the opportunity to discuss the possibility of an

amicable resolution. Neither Warren nor its counsel received any response to that letter.

       21.     On or about June 15, 2023, the subject Export Compliance Daily subscription

expired. Because of the unresolved infringing practices of the authorized recipient and

Defendant, Warren declined to discuss renewal of the subscription.

       22.     Warren’s counsel sent a second cease-and-desist letter to Mr. Imamura on June 2,

2023. That letter also offered the opportunity to discuss an amicable settlement. Neither Warren

nor its counsel received any response to that letter.

       23.     On or about October 12, 2023, Warren’s counsel sent a letter to Jeff McDonald,

who Warren understood to be Defendant’s chief legal officer, as well as to Mr. Imamura,

requesting a response to Warren’s cease-and-desist letter and again offering the opportunity to

discuss an amicable resolution. Neither Warren nor its counsel received a response to that letter.

       24.     On or about December 12, 2023, Warren’s counsel sent Mr. Imamura and Mr.

McDonald a short letter and a revised draft complaint, providing Defendant one final opportunity

to offer a response. Neither Warren nor its counsel received any response to that letter.




                                                  6
                Case 1:24-cv-00955 Document 1 Filed 04/03/24 Page 7 of 9




                                       CLAIM FOR RELIEF

              (Infringement of Federally Registered Copyright – 17 U.S.C. § 501 et seq.)

        25.      Plaintiff incorporates by reference paragraphs 1 through 24 of this Complaint as if

set forth in full herein.

        26.      Warren is the exclusive owner of valid and timely copyright registrations for the

Copyrighted Materials.

        27.      Defendant’s unauthorized copying and distribution of the Copyrighted Materials

directly infringes Warren’s registered copyrights therein in violation of 17 U.S.C. § 101 et seq.

Defendant also is liable for the further infringements that occurred when copies it delivered were

used as Defendant induced, intended, and encouraged. Defendant is liable as a direct, vicarious,

and contributory infringer.

        28.      Defendant’s acts of infringement have been willful, intentional, and in reckless

disregard of and indifference to the rights of Plaintiff. They have injured and damaged Plaintiff

in an amount to be determined.

        29.      At any time before final judgment, Plaintiff is entitled to elect to receive statutory

damages in lieu of actual damages and profits. See 17 U.S.C. § 504(c). For willful copyright

infringement, the jury may award up to $150,000 for each of the 250 infringed issues, i.e.,

approximately $37,500,000. Defendant’s infringement of each work was willful.

        30.      Plaintiff alternatively may choose to recover Defendant’s profits attributable to

infringement plus Plaintiff’s actual damages. See 17 U.S.C. § 504(a). The statute provides that

“[i]n establishing the infringer’s profits, the copyright owner is required to present proof only of

the infringer’s gross revenues, and the infringer is required to prove his or her deductible

expenses and the elements of profit attributable to factors other than the copyrighted work.” 17




                                                   7
              Case 1:24-cv-00955 Document 1 Filed 04/03/24 Page 8 of 9




U.S.C. § 504(b). Defendant’s gross revenues over the period of the infringement are not known

at this time but will be determined during discovery.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment in its favor and against Defendant as

follows:

       1.         For a money judgment against Defendant:

       (a)        For Plaintiff’s actual damages for infringement, and, after an accounting, for

profits attributable to the infringement; or

       (b)        At Plaintiff’s election prior to the entry of final judgment in this case, and as an

alternative to actual damages and profits, an award of statutory damages as permitted by the

Copyright Act, for each of Plaintiff’s timely registered works infringed, including enhanced

statutory damages of $150,000 per work for each of the works willfully infringed and timely

registered; and

       2.         For an injunction against further infringement;

       3.         For an award of pre-judgment and post-judgment interest;

       4.         For Plaintiff’s costs of this action, including Plaintiff’s reasonable attorneys’ fees

incurred in this action; and

       5.         For such other and further relief as the Court may deem just and proper.




                                                     8
             Case 1:24-cv-00955 Document 1 Filed 04/03/24 Page 9 of 9




                                        JURY DEMAND

       Plaintiff demands a trial by jury.



                                    Respectfully submitted,



                                    By: /s/ Mark Sweet
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                                            Counsel for Plaintiff Warren Communications
                                            News, Inc.

Dated: April 3, 2024




                                                  9
